                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA      *
                                  *
        v.                        *    CRIMINAL NO. LKG-25-6
                                  *
    THOMAS C. GOLDSTEIN,          *
                                  *
              Defendant           *
                                  *
                               *******
        GOVERNMENT’S OPPOSITION TO DEFENDANT’S PRO SE MOTION
      REGARDING RELEASE CONDITIONS AND FORFEITURE ALLEGATIONS

        The United States of America respectfully requests that the Court deny Defendant’s pro se

motion to review conditions of release and to limit the scope of the forfeiture allegations. ECF

30.1 On the conditions of release, Defendant’s arguments are legally and factually baseless, and a

review of the applicable statutory factors—which Defendant’s motion ignored—makes clear that

Chief Magistrate Judge Sullivan was correct to require posting as collateral the Washington, D.C.

residence. On the forfeiture allegations, Defendant never raised the argument before Chief

Magistrate Judge Sullivan and Defendant misunderstands the procedures concerning forfeiture of

his property, the financing of which was a result of his own fraudulent misconduct.


                                             BACKGROUND

        On January 16, 2025, a federal grand jury returned a twenty-two count Indictment against

Defendant for violations of federal tax laws and for making false statements on mortgage loan

applications. ECF 1. On January 27, 2025, Defendant made his initial appearance before Chief

Magistrate Judge Timothy J. Sullivan and pleaded not guilty to all the charges. ECF 4. Defendant



1
 Defendant’s pro se motion should be stricken, as explained in the Government’s motion to strike (ECF 32). The
Government is nevertheless submitting this opposition to the extent the pro se motion is not stricken.
was released on conditions, including a requirement that Defendant execute a bond for 100%

interest in his residence in Washington, D.C. ECF 6 at 2. Consistent with that condition of release,

and also on January 27, 2025, Defendant executed an appearance bond and agreement to forfeit

property stating that if he “fail[ed] to appear as required for any court proceeding,” he would forfeit

100% interest in the Washington, D.C. residence. ECF 8-1.

       On January 29, 2025, Defendant filed a motion to modify the conditions of release and

substitute three South Carolina properties for the residence in Washington, D.C. ECF 18. On

January 29, 2025, Chief Magistrate Judge Sullivan denied the request to substitute the South

Carolina properties for the Washington, D.C. residence because doing so was “necessary to

reasonably assure that Mr. Goldstein will appear for all future proceedings in this case.” ECF 19

at 1. That order further made clear that the Washington, D.C. residence would “only be forfeited

if Mr. Goldstein fails to appear as required, and not for other violations of the conditions of

release.” Id.

       On February 5, 2025, Defendant filed the instant pro se motion asking the Court to

substitute the South Carolina properties for the Washington, D.C. residence. ECF 30. The motion

also requested for the first time that the Court “limit the scope of the government’s forfeiture

allegation” as to the Washington, D.C. residence. That forfeiture allegation, which was contained

in the Indictment and then subsequently detailed in a bill of particulars (ECF 21) and a lis pendens

in the property records, notified Defendant and the public that the Government could seek

forfeiture of the Washington, D.C. residence because it represents the proceeds of Defendant’s

false statements on a mortgage loan application. The same day that Defendant’s pro se motion

was filed, this Court directed the Government to respond on or before February 7, 2025. ECF 31.




                                                  2
       On February 6, 2025, the Government filed a motion to strike Defendant’s pro se motion,

for violating the District of Maryland’s Local Rules. ECF 32. The Court scheduled a hearing on

Defendant’s pro se motion and the Government’s motion to strike for February 12, 2025 at 2:30

pm. ECF 33.

                                         ARGUMENT

I.     Defendant’s Request To Substitute Alternate Property Should Be Denied

       Chief Magistrate Judge Sullivan was correct in requiring Defendant, as part of his

conditions of pretrial release, to post his Washington, D.C. residence as collateral. Defendant’s

motion for review fails to provide a basis for reversing that decision. Notably, Defendant’s motion

does not address the applicable factors under 18 U.S.C. § 3142 that the Court “shall” consider in

determining what conditions of release are appropriate. See 18 U.S.C. § 3142(g). Analyzing those

factors makes clear that posting the Washington, D.C. residence as collateral is necessary to

“reasonably assure the appearance of [Defendant] as required and the safety of any other person

and the community.” Id.

       A.      The Nature and Circumstances of the Offenses Charged

       The nature and circumstances of the offenses charged—even standing alone—fully support

Chief Magistrate Judge Sullivan’s decision to require posting the Washington, D.C. residence as

collateral to ensure that Defendant will continue to appear at future hearings and trial. Defendant

has been charged with twenty-two felony counts of tax crimes and making false statements to

mortgage lenders. These are serious charges arising from Defendant’s misconduct spanning more




                                                3
than half a decade. That misconduct continued even after Defendant became aware that the

Government was investigating potential violations of tax laws.

       The facts underlying the charges also support Chief Magistrate Judge Sullivan’s decision.

The Indictment alleges that Defendant repeatedly lied to or otherwise misled the federal

government. Defendant is charged with hiding millions of dollars in income from the IRS.

Defendant is also charged with lying to an IRS Revenue Officer about the source of his income.

Defendant is further charged with concealing millions of dollars in cryptocurrency transactions

from the IRS. Relatedly, the Indictment alleges that Defendant withheld information about his

income from his accountants and employees so that it would not be reported to the IRS on his tax

returns. In addition, the Indictment alleges Defendant repeatedly failed to pay and continues to

owe money on private debt. For example, as included in the Indictment, Defendant owed over

$15 million on private unsecured debt that he repeatedly failed to pay. On one of those notes—

which originated in March 2014—Defendant still owes over $7.5 million as of this month. Viewed

as a whole, these allegations demonstrate Defendant’s disregard for the federal government, the

rule of law, and property that is not his own, and underscore the importance of requiring him to

post his Washington, D.C. residence as collateral to ensure his continued appearances in this case.

       The Indictment also alleges that Defendant lied to multiple mortgage lenders to secure

funds to finance his purchase of the Washington, D.C. residence, and notified Defendant that the

Government will seek forfeiture of the residence because it constitutes or is derived from

“proceeds” directly or indirectly traceable to his crimes. Defendant now objects to posting as

collateral the very same residence that, per the Indictment, he would not have been able to purchase

but for his fraudulent misconduct. Defendant’s motion highlighted that this is his and his wife’s

“marital residence.” ECF 30 at 1. If Defendant was willing to repeatedly violate federal laws to




                                                 4
purchase the Washington, D.C. residence, and now views it as his and his wife’s marital residence,

then requiring it to be posted as collateral will be more effective in securing his continued

appearances than would substituting the South Carolina properties, which Defendant does not own

or live in. Defendant is less likely to flee if doing so would result in forfeiture of his marital

residence. Moreover, under Defendant’s proposal, if he does not appear, the Government would

forfeit the properties of innocent third parties, rather than the property that Defendant fraudulently

obtained. The Court should reject Defendant’s attempt to shift the security of his appearance on

others.

          Additionally, Defendant’s crimes were inextricably intertwined with international travel

and contacts. For example, Defendant is accused of willfully failing to report as income nearly $1

million in cash that he brought back from a gambling trip to Macau. Defendant is likewise accused

of willfully failing to report millions of dollars in gambling winnings from “heads up” poker

matches elsewhere in Asia. The Indictment alleges that a Malaysian citizen, who had a relationship

with a financial institution in Montenegro, assisted Defendant in those matches.             Further,

Defendant is accused of willfully failing to report income that was funneled by that Malaysian

citizen through the Montenegrin financial institution where they both held accounts. Defendant’s

ties to gamblers and individuals in other countries, and his extensive international travel, mean that

he is better equipped than the average defendant to leave the United States to avoid the serious

felony charges he faces here. Posting the Washington, D.C. residence as collateral is necessary to

mitigate the very real risk of Defendant fleeing the country.

          B.     The Weight of the Evidence Against Defendant

          The weight of the evidence also supports the posting of the Washington, D.C. residence as

collateral. As detailed at length in the Indictment, Defendant’s crimes are substantiated by, among




                                                  5
other evidence, his own contemporaneous communications, documented loans that he willfully

decided not to disclose to multiple mortgage lenders, bank and wire records, gambling-related

memoranda authored by Defendant, tax and accounting records, and records reflecting

Defendant’s extravagant spending on luxury items and other personal payments while he owed

substantial taxes to the IRS. As Defendant highlighted in his motion, the Government has collected

and will produce in discovery tens of thousands of documents proving his crimes, and the

Government has identified nearly 80 witnesses whose testimony could also help prove the crimes.

ECF 30 at 6. At trial, the Government will introduce this comprehensive and conclusive evidence.

       A few non-exhaustive examples demonstrate the strength of the evidence against

Defendant. First, regarding the allegation that Defendant fraudulently failed to report to the IRS

$500,000 in legal fee income in 2021, the Government anticipates that a California-based actor

(“the Actor”) will testify that he retained Defendant and his law firm to serve as the Actor’s legal

representative in his efforts to secure full payment of a years-old poker debt owed by a Texas-

based billionaire (“Texas Businessman”). The Government will introduce contemporaneous

communications, including text messages and emails, proving the existence of this relationship

and also the legal fee that Defendant stood to gain as a result of his and his law firm’s work.

Further, the Government anticipates that the Actor will testify that Defendant personally directed

the Actor to transfer the legal fee not to Defendant or his law firm, but rather to another individual

(“California Businessman-3”) to pay down part of a debt that Defendant owed. This testimony

will be bolstered by bank records reflecting the payment to California Businessman-3, as well as

by testimony from California Businessman-3, the Texas Businessman, and others involved in the

initial poker game that gave rise to the debt on which the Actor was seeking repayment. As a

result of Defendant’s direction that the legal fee be paid to California Businessman-3, the income




                                                  6
was not captured in Defendant’s or his law firm’s banking records, nor did Defendant notify his

accountant about receiving the income. And, as a result, this income was not reported on his tax

returns. The Government will also introduce testimony and documents proving that Defendant’s

scheme to divert this legal fee occurred after he was already aware that the IRS was investigating

his tax misconduct.

       Second, regarding the allegations that Defendant made false statements to multiple

mortgage lenders to finance his purchase of the Washington, D.C. residence, the Government

anticipates introducing testimony from two of Defendant’s creditors to establish that Defendant

owed them millions of dollars when he submitted the at-issue mortgage applications. The

Government will introduce promissory notes proving the existence of those debts, and bank

records and communications showing that Defendant was actively attempting to pay down those

debts. Along the same lines, the Government will introduce Defendant’s own emails to a third

party acknowledging the existence of the millions of dollars in debt. Further, the Government will

introduce the mortgage applications that Defendant signed and that, despite asking for Defendant

to disclose his liabilities and making clear the legal repercussions of failing to do so, failed to

contain any information as to the substantial debts. Finally, as with the failure to report the

$500,000 legal fee from the Actor, the Government will introduce testimony and documents

proving that the Defendant defrauded the mortgage lenders despite knowing that he was under

investigation.

       The testimony and documentary evidence described above is only a small sample of the

Government’s case, but demonstrates the strength of the evidence and accordingly the




                                                7
reasonableness of Chief Magistrate Judge Sullivan’s decision to require Defendant to post the

Washington, D.C. residence as collateral.

       C.      The History and Characteristics of Defendant

       The Defendant’s history and characteristics demonstrate that, absent comprehensive

conditions of release, including the posting of the Washington, D.C. residence as collateral, the

Defendant poses a significant risk of flight and threatens to undermine the integrity of these

proceedings.

       First, on the issue of Defendant’s flight risk, he has significant ties to wealthy individuals

in other countries that would make it far easier for Defendant to flee than the average person.

Defendant also has traveled extensively abroad in recent years. Defendant’s motion stressed that

he “has a negative net worth of more than $3.3 million,” ECF 30 at 3, but as laid out in the

Indictment, Defendant has been successful in securing millions of dollars in loans from wealthy

individuals, so he likely has access to funds necessary to flee the country and sustain a life abroad.

Further, and also as detailed in the Indictment, Defendant has bought, sold, and held millions of

dollars’ worth of cryptocurrency, and willfully failed to report such transactions to the IRS.

       More generally, as discussed throughout this opposition and the Indictment, Defendant has

spent much of the last decade effectively hiding his income and assets from the IRS and federal

government. Defendant is a highly sophisticated businessperson, a prominent appellate litigator,

and involved in myriad financial transactions. Taken together with his ability to solicit loans from

wealthy individuals, Defendant has the means and skills necessary not only to flee the District of

Maryland and the United States, but also to live comfortably and evade capture in foreign

jurisdictions. See United States v. Remarque, PX-19-039, 2020 WL 1983927, at *1-*4 (D. Md.

Apr. 27, 2020) (denying appeal of Chief Magistrate Judge Sullivan’s pretrial detention order based




                                                  8
on, among other things, defendant’s “significant international ties”); United States v. Fombe,

DKC-19-452-1, 2023 WL 6200018, at *2 (D. Md. Sept. 22, 2023) (denying motion for review of

Chief Magistrate Judge Sullivan’s pretrial detention order because, among other reasons,

defendant had overseas contacts and had demonstrated “the wherewithal to flee, using false

documentation, and to travel to myriad foreign countries”); United States v. Raji, SAG-20-00369,

2021 WL 825981, at *1-*2 (D. Md. Mar. 4, 2021) (denying motion to reconsider pretrial detention

where defendant had the “‘motive, means and contacts’ to flee and assume another identity either

in the United States or abroad”); United States v. Anderson, 384 F. Supp.2d 32, 36 (D.D.C. 2005)

(finding a defendant’s history and characteristics in a tax evasion case weighed in favor of

detention based on the defendant’s “substantial assets abroad; his connections overseas; . . . his

lack of ties to the District of Columbia; and his persistent deceitfulness . . . in his dealings with the

government”).

        Second, Defendant’s history and characteristics—including as alleged in the Indictment—

proves that he poses a potential danger to the administration of justice in this case. Defendant

repeatedly willfully lied to the IRS, explicitly and by omission. The Government is aware that

Defendant has instructed third parties, including potential witnesses in the case, to destroy

evidence that is relevant to the charges. Defendant has used encrypted, foreign-based email

accounts to store evidence of his gambling winnings and income that he did not disclose to the

IRS or his accountant. What’s more, shortly after Defendant became aware of the federal

investigation, the Government understands that he offered things of value, including

cryptocurrency, to a potential witness in the case who has intimate knowledge of his and his law

firm’s finances and income—and that there was no other credible reason for doing so than to

attempt to prevent the potential witness from assisting in the investigation. And while Defendant




                                                   9
submitted in his pro se motion that he “is a deeply respected member of the bar who practiced at

the highest level for decades,” ECF 30 at 5, according to the Indictment he also was committing

multiple felonies—and a life of deception—while doing so.

       The available evidence concerning Defendant’s history and characteristics indicates that

he poses a flight risk and potential danger to the administration of justice. That is exactly why it

was reasonable for Chief Magistrate Judge Sullivan to order as a condition of his release that the

Washington, D.C. residence—and not the South Carolina properties—be posted as collateral as a

condition of his release.

       D.      The Nature and Seriousness of the Danger to any Person or the Community
               That Would Be Posed by Defendant’s Release

       If he were not ordered to post his Washington, D.C. residence as collateral, and for all the

reasons already described in this opposition, Defendant could very well attempt to flee this

prosecution and the United States. Defendant’s flight would be harmful to the administration of

justice, to the integrity of this Court, and to the integrity of the court system more broadly. In

addition, as alleged in the Indictment, Defendant owes millions of dollars in unpaid taxes to the

federal government and to private individuals. Should Defendant flee, both the public and

Defendant’s private creditors would be substantially harmed.

       E.      Defendant’s Arguments in Favor of Substituting the South Carolina
               Properties Are Unavailing

       While ignoring the applicable factors under 18 U.S.C. § 3142, Defendant has advanced a

few unavailing arguments in favor of substituting the South Carolina properties for the

Washington, D.C. residence.

       Defendant’s argument that there “is no realistic prospect of flight” (ECF 30 at 5) ignores

that, as explained previously, he has substantial contacts with wealthy individuals in the United

States and other countries, extensive experience traveling in the United States and internationally,


                                                10
and that he is facing twenty-two felony counts that carry the potential for a significant prison

sentence. And although it may be more difficult for Defendant to flee abroad without his passport,

which was surrendered, it is not impossible. Defendant is a sophisticated individual who has

repeatedly weaponized his intelligence and status to violate federal laws, and there is no guarantee

that he will not continue to do so without adequate conditions of release such as posting the

Washington, D.C. residence as collateral. Moreover, the Government has evidence that Defendant

has traveled internationally on private jets, which likely makes it easier for him to escape the

United States without a passport. See United States v. Epstein, 425 F. Supp. 3d 306, 323 (S.D.N.Y.

2019) (agreeing that defendant was “serious” flight risk given his “wealth, ownership of and access

to private planes capable of international travel, and significant international ties”). Regardless,

Defendant will be much less likely to attempt to flee if he knows that it could cost him and his

wife their Washington, D.C. residence.

       Defendant argues that the South Carolina properties “are worth more than the [Washington,

D.C. residence]” (ECF 30 at 5 (emphasis in original)) but that does not mean substituting them

would adequately ensure Defendant’s continued participation and appearances in this case.

Nothing in 18 U.S.C. § 3142 requires the Court to act as a calculator to compare the value of

properties that a defendant may be able to post as collateral.        Defendant’s pro se motion

acknowledged that the Washington, D.C. residence is his and his wife’s “marital residence.” To

the contrary, Defendant does not own or live in the South Carolina properties. While the

Government is aware of extensive international travel by Defendant in the last decade, it is unaware

of Defendant having spent significant time in South Carolina. Clearly Defendant’s connection,

emotional and financial, to the Washington, D.C. residence is stronger than any connection to the

South Carolina properties. Moreover, the Court should not require the forfeiture of properties held




                                                11
by innocent parties if Defendant does not appear, instead of placing the consequences of

Defendant’s non-appearance squarely on Defendant via the property that Defendant owns. Chief

Magistrate Judge Sullivan was correct and reasonable in ordering that the Washington, D.C.

residence be posted as collateral.

       Defendant next suggests that he will have insufficient funds to pay for counsel if the Court

does not substitute the South Carolina properties (ECF 30 at 5-6), but that claim is belied by the

record and common sense. As noted in the Pretrial Services Report and by Chief Magistrate Judge

Sullivan during the initial appearance, one of Defendant’s bank accounts has a balance of

$250,000, Defendant is spending $5,000 a month on a housekeeper, $8,000 a month on a personal

assistant, and has been paying $20,000 a month for an apartment in Dallas. And as the Indictment

alleges, Defendant spent millions on personal and luxury payments. When comparing these vast

sums of money to the financial assets of the average person in this District, Defendant’s claim that

he does not have money to pay for counsel rings hollow.

       In addition, the premise of Defendant’s argument—that if he can substitute the South

Carolina properties, he can use the Washington, D.C. residence to finance his defense—avoids the

reality that it would be exceedingly difficult or impossible given the allegations in this case that

Defendant will be able to secure financing from any legitimate lender on the Washington, D.C.

residence. Indeed, the Indictment alleged that Defendant defrauded multiple mortgage lenders and

failed for years to successfully repay poker-related debts from private lenders. The premise also

ignores that Defendant’s wife may not be willing to participate in his attempts to mortgage the

Washington, D.C. residence to pay for his defense.

       Finally, regarding Defendant’s argument that denying the request to substitute the South

Carolina properties would prejudice his wife and her equity interest in the Washington, D.C.




                                                12
residence (ECF 30 at 7), Defendant has only himself to blame. By intentionally failing to disclose

millions of dollars in private debts to the mortgage lenders, and apparently failing to alert his wife

to that decision, he gambled that he would not get caught. That turned out to be a losing bet, and

now he has been charged with multiple counts of making false statements to mortgage lenders.

The notion that the Court or the Government are to blame for whatever happens to the Washington,

D.C. residence is an astounding abdication of responsibility for his own deliberate actions.

       In sum, Defendant’s arguments for substituting the South Carolina properties are legally

and factually baseless, and should be denied.

II.    DEFENDANT’S ATTACKS ON THE FORFEITURE ALLEGATIONS ARE
       MERITLESS

       Defendant advances several attacks on the forfeiture notice in the Indictment and the

subsequent filing of the Government’s bill of particulars—which identified the “proceeds” of the

offense that were subject to forfeiture, upon conviction. Defendant’s arguments are not only

procedurally improper—because they are not subject to any ruling by Chief Magistrate Judge

Sullivan—they are also premature and legally deficient.

       A.      Forfeiture Standards

       Criminal forfeiture is a part of a defendant’s sentence, to be imposed only following

conviction of a substantive criminal offense. Libretti v. United States, 516 U.S. 29, 39 (1995).

Consequently, courts have routinely rejected defendants’ attempts to limit a forfeiture order before

a defendant’s conviction and sentencing. See, e.g. United States v. Akula, No. 2:21-cr-00098-

LMA-KWR, 2023 WL 2667789, *3 (E.D. La. Mar. 28, 2023) (denying defendant’s motion to

challenge indictment’s forfeiture allegation without prejudice as premature where defendant

alleged government failed to show nexus between alleged fraud and assets, and noting that “‘issues

with the source of the funds…that are subject to forfeiture…are factual issues’” that must be



                                                 13
resolved at trial); United States v. Alrahib, No. 1:19-cr-20165-RS, 2021 WL 603320, *2 (S.D. Fla.

Jan. 29, 2021), r. & r. adopted, 2021 WL 602610 (S.D. Fla. Feb. 16, 2021) (court denied as

premature defendant’s challenge seeking to strike forfeiture allegations in indictment because

court does not make forfeiture determination until after guilty verdict is entered or guilty plea is

accepted); United States v. Adames, No. 1:17-cr-00072-MR-DLH, 2017 WL 4948067, *2

(W.D.N.C. Nov. 1, 2017) (denying motion to dismiss forfeiture notice in superseding indictment

as premature when filed before criminal conviction).

       Because forfeiture is a part of a court’s sentencing determination, Defendant’s reliance on

a handful of cases limiting the scope of forfeiture—during the sentencing process—is irrelevant.

Defendant has not yet been convicted of the forfeiture-related offenses. Accordingly, the Court

cannot address the scope or amount of any forfeiture, and Defendant’s request for it to do so has

no basis in law.

       The allegations of the Indictment provided clear notice that the Government would seek to

forfeit the proceeds of the offenses related to Defendant’s false statements to mortgage lenders.

The Government subsequently provided notice in a bill of particulars that Defendant’s

Washington, D.C. residence would be subject to forfeiture as proceeds of Defendant’s false

statement offenses. That is all the government is required to do at this point. See, e.g., Fed. Rule

Crim. Pro. 32.2(a); United States v. Poulin, 690 F. Supp. 2d 415, 420 (E.D. Va. 2010), aff'd, 461

F. App'x 272 (4th Cir. 2012) (“In order for a court to enter a judgment of forfeiture following a

finding of guilt, the government must first have notified the defendant, either through the

indictment or the information, of its intent to seek forfeiture as part of any sentence. Fed. R. Crim

Pro. 32.2(a).”); Boyd v. United States, 209 F. Supp. 3d 160, 166 (D.D.C. 2016) (Rule 32.2(a)

provides that indictment “need not identify the property subject to forfeiture or specify the amount




                                                 14
of any forfeiture money judgment that the government seeks”; indictment that gave notice of

forfeiture and listed specific property gave plaintiff suing government more notice than required

by rule); United States v. Lazarenko, 504 F. Supp. 2d 791, 796–97 (N.D. Cal. 2007) (Rule 32.2(a)

requires only that the indictment give defendant notice of the forfeiture in generic terms;

identification of assets after conviction is not an impermissible attempt to broaden the indictment);

United States v. Di Gilio, 667 F. Supp. 191, 198 (D.N.J. 1987) (government must establish its

forfeiture allegations at trial; indictment that alleges that defendants received financial benefits

from a RICO enterprise, and those benefits are subject to forfeiture, is sufficient to withstand a

motion to dismiss).

       Given this legal landscape, Defendant’s challenge to the forfeiture allegations is premature.

Notwithstanding the foregoing, Defendant maintains that the Government is now required to

demonstrate that the Washington, D.C. residence is subject to forfeiture. Even if that were so, the

Government submits there is ample evidence showing that Defendant’s Washington, D.C.

residence constitutes “proceeds” of his false statement offenses.

       “Proceeds” in the criminal forfeiture context is property a defendant would not have had

“but for” the criminal conduct in the offense of conviction. United States v. Jones, 622 F. App’x.

204, 207 (4th Cir. 2015); see also United States v. Shah, 84 F.4th 190, 252 (5th Cir. 2023) (“The

analytical inquiry” to determine if money generated as part of a federal healthcare offense are gross

proceeds subject to forfeiture “is whether the defendant would have received the property ‘but for’

his criminal conduct”); withdrawn & superseded on denial of reh’g en banc, 95 F.4th 328 (5th Cir.

2024); United States v. Warshak, 631 F.3d 266, 330–333 (6th Cir. 2010) (all proceeds of

defendant’s business are forfeitable because the business was “permeated with fraud”; but even if

a part of the business was legitimate, the proceeds of that part are nevertheless forfeitable if the




                                                 15
legitimate side of the business would not exist but for the “fraudulent beginnings” of the entire

operation).

       Proceeds do not cease being proceeds just because they change form; even indirect

proceeds are forfeitable. United States v. Tartaglione, 815 F. App'x. 648, 651–652 (3d Cir. 2020)

(defendant convicted of 53 fraud and tax evasion counts indirectly obtained benefits of the crime

when she caused mental health clinic that she headed to make payments to contractors performing

work on property owned by an LLC she controlled); United States v. Betancourt, 422 F.3d 240,

251 (5th Cir. 2005) (if defendant buys a lottery ticket with criminal proceeds, the lottery winnings

are traceable to the offense even though the value of the ticket appreciated enormously when it

contained the winning number); United States v. Hawkey, 148 F.3d 920, 928 (8th Cir. 1998) (if

property is subject to forfeiture as property traceable to the offense, it is forfeitable in full,

including any appreciation in value since the time the property became subject to forfeiture; the

reason for the appreciation does not matter).

       Defendant’s Washington, D.C. residence constitute proceeds of his false statement

offenses because Defendant would not have this property “but for” the false statement offense

charged in Count 22 of the Indictment.

       After Defendant submitted two unsuccessful—and demonstrably false—mortgage

applications to purchase the Washington, D.C. residence, Defendant then turned to a litigation

funder (the “Funder”), and executed two agreements through his law firm G&R that provided him

with $5.6 million. As a part of Defendant’s agreements with the Funder, Defendant caused G&R

to pledge anticipated income from certain court cases, and he signed as a guarantor of the

agreements, agreeing to be personally responsible if the security recited in the agreements did not

fully repay the Funder. One of the agreements further required Defendant to: (1) use the sale




                                                16
proceeds of his old Chevy Chase house to repay the Funder, (2) get a mortgage on the new house

to repay the Funder, and (3) grant the Funder an ownership interest in his new house.

       Defendant then used the money obtained by fraud from the Funder to pay off his 2016 and

2017 tax liens on the Chevy Chase home and 2019 federal tax debt, which he was required to do

to get a loan on the Washington, D.C. residence. Defendant also used the money from the Funder

to purchase the Washington, D.C. residence.

       Then, to repay the Funder under the terms of the contract, in July 2021, Defendant applied

to NFM Lending seeking a mortgage on the DC home. Defendant submitted the application to

NFM on July 11, 2021, seeking $1,987,500. In this application, Defendant again failed to list over

$15 million in liabilities, which are the false statements charged in Count 22. As a result of

Defendant’s false statements, NFM provided the loan. Days after the closing on the loan, the vast

majority of the NFM loan funds, $1,967,686.51, were wired directly to the Funder.

       The factual history set forth above makes plain that Defendant would not now have the

Washington, D.C. residence “but for” the fraudulent loan application submitted to NFM. Had

Defendant not paid the Funder back, the Funder would own the Washington, D.C. residence, not

Defendant. As such, the Washington, D.C. residence is proceeds of Defendant’s false statement

offense:Defendant made multiple false statements to a mortgage lender, obtained millions of

dollars in proceeds, and wired a large portion of those proceeds to the Funder in exchange for the

Funder’s interest in the Washington, D.C. residence. These proceeds did not magically cease to

exist upon their payment to the Funder—they simply changed form. The Washington, D.C.

residence is, even if indirectly, proceeds of Defendant’s mortgage fraud offense.

       Finally, Defendant references his Sixth Amendment right to counsel in his pro se motion

concerning the Washington, D.C. residence, because he wants to use his equity in the home (the



                                               17
amount of which the Government disputes) to fund his defense. But the Government has not

seized the Washington, D.C. residence. It has only provided notice in the Indictment, bill of

particulars, and a lis pendens that the property may be subject to forfeiture. As such, the

Government is not impeding Defendant’s Sixth Amendment right to counsel by seizing assets that

Defendant would otherwise be able to use for his defense, because the Government has not seized

any assets at all.

        Moreover, the Supreme Court has ruled that criminal defendants have no right to use

tainted property to pay counsel. Caplin & Drysdale v. United States, 491 U.S. 617, 623–35 (1989);

see also United States v. Monsanto, 491 U.S. 600, 616 (1989) (rejecting Sixth Amendment

challenge to pretrial restraining order restricting defendant’s use of forfeitable property); Kaley v.

United States, 571 U.S. 320 (2014) (defendant was not entitled to a hearing on an asset freeze to

challenge grand jury’s probable cause determination related to the underlying crime). Even if the

Court were to allow Defendant to argue that the Washington, D.C. residence was not, in fact,

mortgage fraud proceeds, and the Government had seized the property, which it has not, the

Defendant would also need to show that he lacks any other funds with which to pay counsel. See

United States v. Farmer, 274 F.3d 800, 804–805 (4th Cir. 2001) (defendant must show not only

that the seized assets in question are untainted, but also that he has no other funds with which to

secure counsel). As Chief Magistrate Judge Sullivan observed at Defendant’s initial appearance,

Defendant admittedly has ample significant liquid assets. Those assets can plainly be used to

secure counsel, and therefore Defendant’s claims to the contrary are without foundation.




                                                 18
                                       CONCLUSION

       For all the reasons stated above, the Government respectfully requests that the Court deny

Defendant’s motion in full.



                                                   Respectfully submitted,

                                                   Erek L. Barron
                                                   United States Attorney
                                                   /s/
                                                   Patrick D. Kibbe
                                                   Assistant United States Attorney
                                                   District of Maryland

                                                   Stanley J. Okula, Jr.
                                                   Senior Litigation Counsel
                                                   Department of Justice—Tax Division

                                                   Emerson Gordon-Marvin
                                                   Hayter Whitman
                                                   Trial Attorneys
                                                   Department of Justice—Tax Division




                                              19
